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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                      :
                                               :
                       Plaintiff,              :
                                               :       CASE NO: 2:19-cr-53
       v.                                      :
                                               :       CHIEF JUDGE EDMUND A. SARGUS, JR.
ANDREW K. MITCHELL,                            :
                                               :
                       Defendant.              :


                          DEFENDANT ANDREW K. MITCHELL’S
                               MOTION FOR DISCOVERY

       Now comes the Defendant, Andrew K. Mitchell, by and through counsel, and hereby requests

the Government to provide forthwith the Discovery materials authorized under Rule 16 of the

Federal Rules of Criminal Procedure as follows:

       (A)     To permit the Defendant to inspect and copy or photograph any of the following

which are available, to or within the possession, custody, or control of the Government, the existence

of which is known or by the exercise of due diligence may become known to the Government.

               (1)     Relevant written or recorded statements made by the Defendant or Co-

                       Defendant, or copies thereof;

               (2)     Written summaries of any oral statement, or copies thereof, made by the

                       Defendant, Co-Defendant of alleged Co-Conspirator to the Government or

                       any Law Enforcement Officer;

               (3)     Recorded testimony of the Defendant, Co-Defendant, or alleged Co-

                       Conspirator before a Grand Jury.

       (B)     To furnish Defendant a copy of the Defendant’s prior criminal record available to or
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within the possession, control, or custody of the Government.

       (C)     To permit Defendant and/or Counsel to inspect a copy or photograph, books, papers,

documents, photographs, tangible objects, buildings or places, or copies or portions thereof, available

to or within the possession, control, or custody of the Government, and which are material to the

preparation of the defense, or are intended for use by the Government as material to the preparation

of a defense, or are intended for use by the Government as evidence at trial, or which were obtained

from or belonged to the Defendant.

       (D)     To permit Defendant and/or Counsel to inspect and copy or photograph any results of

physical or mental examination, and of scientific tests or experiments, made in connection with the

particular case, or copies thereof, available to or within the possession, custody, or control of the

Government, the existence of which is known or by the exercise of due diligence may become

known to the Government.

       (E)     To furnish Defendant and/or Counsel a written list of the names and addresses of all

witnesses whom the Government intends to call at trial, together with any record or prior felony

convictions of such witnesses, which record is within the knowledge of the Government.

       (F)     To disclose to Counsel for Defendant all evidence, known or which may become

known to the Government, which is favorable to the Defendant and material either to guilt or

punishment.

       (G)     To furnish Counsel prior to trial the written or recorded statements, or summaries

thereof, of any witness relevant to these proceedings, or in the alternative have available such

statements for an in cameral inspection by the Court.

       Respectfully, this demand is continuing in nature. If, subsequent to compliance with this

request, the Government discovers additional responsive materials, those materials shall promptly be

transmitted to the Defendant.
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                                                      Respectfully submitted,


                                                      /s/ Mark C. Collins
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                                                      KAITLYN C. STEPHENS (0095589)
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                                                      Attorneys for Defendant Andrew K. Mitchell




                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 21, 2019, I electronically filed this Motion for Discovery using

the CM/ECF System, which will send notification of such filing to the following: Jessica Kim, Esq.

and Kevin Kelley, Esq.



                                                      /s/ Mark C. Collins
                                                      MARK C. COLLINS (0061207)
